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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEIJLJAN -.7                   PM 14: 36
                                   AUSTIN DIVISION

 SCOTT A. ELLIOTT, MING-HANG HO,                  §
 AND THE ROXANA H. CUPPLES                        §
 REVOCABLE INTER VIVOS TRUST,                     §
                  PLAINTIFFS,                     §
                                                  §
 V.                                               §    CAUSE NO. 1 :14-CV-972-LY
                                                  §
 MISSION TRUST SERVICES, LLC,                     §
 CHRISTOPHER C. FINLAY, THE                       §
 CORPORATION TRUST COMPANY                        §
 AND MICHAEL T. HOSMER,                           §
                  DEFENDANTS.                     §


                                      FINAL JUDGMENT

       Before the court is the above styled and numbered cause. By separate order signed this day,

the court transferred Non-Party David Wieland' s Motion for Protective Order and Motion to Quash

Subpoena to Testify at a Deposition filed October 28, 2014 (Clerk's Doc. No. 1) to the United States

District Court for the Northern District of Illinois, Eastern Division. The court also dismissed all

motions pending in this action. Accordingly, the court renders the following Final Judgment

pursuant to Federal Rule of Civil Procedure 58.

       IT IS HEREBY ORDERED that this case is CLOSED.

       SIGNED this             day of January, 2015.




                                             LEUN TED STA     ES DISTRICT JUDGE
